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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                         September 16, 2024
                  IN THE UNITED STATES DISTRICT COURT
                                                                          Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

DONNA HOLCOMB, et al,                        §
    Plaintiff(s),                            §
                                             §
v.                                           § CIVIL ACTION NO. 3:21-cv-00210
                                             §
SPECIALIZED LOAN SERVICING,                  §
LLC, et al                                   §

                                 FINAL JUDGMENT

       This Judgment is entered in the wake of this Court, on September 9, 2024,

entering a Memorandum Opinion containing findings of fact and conclusions of law

explaining its ruling in the above-referenced matter. DK# 42. It is therefore

       ORDERED that the Plaintiffs, Donna Holcomb and Curtis Holcomb, shall

take nothing on all their claims against Defendants Specialized Loan Servicing, LLC

(“SLS”) and Deutsche Bank National Trust Company, as Trustee for FFMLT Trust

2005-FF2, Mortgage Pass-Through Certificates, Series 2005-FF2 (“Deutsche

Bank,” and with SLS, collectively, “Defendants”).

       The Court finds that Defendant SLS is the mortgage servicer for Defendant

Deutsche Bank. It is further

       ORDERED that summary judgment is granted in favor of Defendants against

Plaintiffs for judicial foreclosure. It is further
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      ORDERED Defendants hold security interest in the real property

commonly known as 901 Landing Boulevard, League City, Texas 77573, more

particularly described as

       LOT ONE (1), IN BLOCK NINE (9), OF THE LANDING, SECTION ONE
       (1), A SUBDIVISION IN GALVESTON COUNTY, TEXAS,
       ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN
       VOLUME 15, PAGE 159 IN THE OFFICE OF THE COUNTY CLERK OF
       GALVESTON COUNTY, TEXAS.

      It is further

      ORDERED that there is a default under the terms of the Texas Home Equity

Note (Fixed Rate – First Lien) in the original principal amount of $88,000.00 as of

October 26, 2004 accruing at a rate of 6.5% or as contractually agreed. It is further

      ORDERED that Defendants are authorized to proceed with foreclosure under

the Texas Home Equity Security Instrument (First Lien) executed by Jo Ann M

Jones and Charles E Jones (by Jo Ann M. Jones, his attorney infact) on October 26,

2004, TEX. PROP. CODE § 51.002 and applicable law. It is further

      ORDERED that in the alternative that Defendants’ or their successors and

assigns may at their discretion request an Order for Sale issue to any sheriff or

constable in the State of Texas to seize and sell the above-described Property the

same as under execution in satisfaction of this Judgment against Plaintiffs and that

Defendants may credit bid at such sale up to the amount owed under the Note and

lien as of the date of the sale. The sheriff or other officer executing this order of sale
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will have the same force and effect as that of a writ of possession between the

parties in the action.

       This judgment is final, disposes of all parties and all claims, and is

appealable. Any relief not expressly granted is denied.



SO ORDERED this _____ day of September, 2024.




                                  _________________________________________
                                  Honorable Andrew M Edison
                                  United States Judge, S.D.Tex.
